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             8                             UNITED STATES BANKRUPTCY COURT

             9                                EASTERN DISTRICT OF CALIFORNIA

            10                                     SACRAMENTO DIVISION

            11   In re:                                           CASE NO.: 18-22453-D-11
                 ECS REFINING, INC.,                              Chapter 11
            12
                                    Debtor.                       DCN: FWP-11
            13
                                                                  Date:          June 29, 2018 [Per OST]
            14                                                    Time:          10:30 a.m.
                                                                  Courtroom:     34
            15                                                                   501 I Street, 6th Floor
                                                                                 Sacramento, CA
            16
                                  FIFTH EMERGENCY MOTION FOR AN INTERIM
            17                ORDER (1) AUTHORIZING THE USE OF CASH COLLATERAL
                               PURSUANT TO 11 U.S.C. § 363; (2) SCHEDULING A FINAL
            18                    HEARING; AND (3) GRANTING RELATED RELIEF
            19            W. Donald Gieseke, the duly-appointed and acting Chapter 11 Trustee (the “Trustee”) in

            20   the ECS Refining, Inc. (the “Debtor”) case (the “Bankruptcy Case”), hereby files this Fifth

            21   Emergency Motion for an Interim Order (1) Authorizing Interim Use of Cash Collateral Pursuant

            22   to 11 U.S.C. §363; (2) Scheduling a Final Hearing; and (3) Granting Related Relief (the

            23   “Motion”) and in support of this Motion, respectfully represents as follows.

            24                                           INTRODUCTION

            25            As reported at the last cash collateral hearing in this matter, the Trustee and his

            26   professionals have been working very hard to implement a process for a reasonably soft landing

            27   of this case through a potential sale of assets. Income from the Debtor’s operations has been

            28   barely sufficient to fund payroll during the past weeks of operation.          The Trustee and his
        	
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             1   professionals have been examining all potential solutions for how to proceed.

             2          At the last hearing in this matter, the Trustee obtained the use of cash collateral to operate

             3   for two weeks for the purpose of obtaining a stalking horse bid acceptable to the Trustee and

             4   SummitBridge National Investments V LLC (“SummitBridge”) on or before June 26, 2018. At

             5   that time, there were several interested parties performing due diligence. As of the date of this

             6   Motion, however, no bid has been made by the primary interested party, although the Trustee

             7   believes such a bid will be made very soon.

             8          The purpose of this Motion is to obtain approval of the use of cash collateral for another

             9   short period for the purpose of either pursuing a sale if an acceptable bid is obtained or shutting

            10   down operations if no timely bid is forthcoming. The Trustee has presented two cash collateral

            11   budgets to SummitBridge for its review and approval covering each situation. At the hearing on

            12   the last cash collateral motion, the Court authorized the Trustee to take reasonable and necessary

            13   steps in the Trustee’s business judgment in the exercise of his role as the liquidating fiduciary for

            14   the bankruptcy estate to halt or reduce operations if, in his business judgment, the Trustee

            15   determines it is appropriate to do so. Thus, by this Motion, the Trustee is seeking authority to use

            16   cash collateral sufficient to cover both situations, either pursuing a sale or ceasing operations.

            17                                        BACKGROUND FACTS

            18          1.      On April 24, 2018 (the “Petition Date”), the Debtor filed a voluntary petition for

            19   relief under Chapter 11, Title 11 of the United States Code (“Bankruptcy Code”), in the United

            20   States Bankruptcy Court for the Eastern District of California (“Court”).

            21          2.      On May 2, 2018, the Court entered its Order Granting Emergency Ex Parte Motion

            22   on Stipulation for Immediate Appointment of Chapter 11 Trustee (Docket No. 91). On May 8,

            23   2018, the Court entered an order appointing the Trustee (Docket No. 99). A creditors’ committee

            24   has not been appointed.

            25          3.      Based on the pleadings filed by the Debtor, the Debtor provides recycling and

            26   asset disposition solutions ranging from e-waste shredding to information technology and

            27   industrial asset resale. The Debtor is a leader in innovative electronics recycling, offering both

            28   end-of-life and asset management services to a variety of markets, by utilizing state-of-the-art
        	
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             1   technology and over 37 years of experience to provide the most comprehensive, responsible

             2   solutions in the industry, maximizing value recovery and ensuring data security while

             3   safeguarding the future of the planet. The Debtor’s three tenets are security, sustainability, and

             4   value recovery.    The Debtor has facilities in Santa Clara, Santa Fe Springs and Stockton,

             5   California; Medford and Portland, Oregon; Mesquite, Texas; Columbus, Ohio; and Rogers,

             6   Arkansas.    The Debtor currently has approximately 341 employees (“Employees”).                          The

             7   Employees include approximately: (i) 325 full-time employees; (ii) 0 part-time employees; and

             8   (iii) 16 contract employees. See Debtor’s Emergency Ex Parte Motion for approval of DIP

             9   Financing and use of Cash Collateral, Docket No. 12, pp. 6-7 (the “Debtor’s DIP Financing

            10   Motion”).

            11          4.      SummitBridge asserts that as of the Petition Date, the Debtor was indebted to

            12   SummitBridge in excess of $25,000,000 and additional fees and expenses owed pursuant to

            13   applicable loan documents (hereafter such indebtedness and all accrued but unpaid interest, fees

            14   and costs and all other obligations, contingent liabilities, and swap liabilities incurred or existing

            15   as of the Petition Date shall be referred to collectively as the “Pre-Petition Secured Debt”). See

            16   paragraph 7 of the Declaration of W. Donald Gieseke (“Gieseke Declaration”) filed herewith.

            17          5.      SummitBridge claims that the Pre-Petition Secured Debt is secured by a valid and

            18   perfected first priority lien and security interest in substantially all of the Debtor’s property and

            19   all proceeds (including insurance) thereof, including but not limited to all of Debtor’s accounts,

            20   equipment, inventory, goods, work in process, general intangibles, fixtures, trademarks, patents,

            21   other personal property assets and all proceeds thereof (the “Pre-Petition Collateral”).

            22          6.      On May 8, 2018, the Trustee filed an Emergency Motion for an Interim Order

            23   (1) Authorizing Use of Cash Collateral Pursuant to 11 U.S.C. § 363; (2) Scheduling a Final

            24   Hearing; and (3) Granting Related Relief at Docket No. 100 (the “First Emergency Motion”). On

            25   May 9, 2018, the Court entered the Interim Order on the First Emergency Motion at Docket

            26   No. 117 and set a final hearing on May 23, 2018 (“Interim Order on First Emergency Motion”).

            27   The Court granted the relief in the Interim Order on First Emergency Motion on a final basis by

            28   order dated May 24, 2018. Docket No. 162.
        	
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             1          7.      On May 17, 2018, the Trustee filed a Second Emergency Motion for an Interim

             2   Order (1) Authorizing Use of Cash Collateral Pursuant to 11 U.S.C. § 363; (2) Scheduling a Final

             3   Hearing; and (3) Granting Related Relief at Docket No. 100 (the “Second Emergency Motion”).

             4   On May 23, 2018, the Court entered the Interim Order on the Second Emergency Motion at

             5   Docket No. 152 and set a final hearing on June 6, 2018 (“Interim Order on Second Emergency

             6   Motion”). The Court granted the relief in the Interim Order on Second Emergency Motion on a

             7   final basis by order dated June 6, 2018. Docket No. 184.

             8          8.      On June 4, 2018, the Trustee filed a Third Emergency Motion for an Interim Order

             9   (1) Authorizing Use of Cash Collateral Pursuant to 11 U.S.C. § 363; (2) Scheduling a Final

            10   Hearing; and (3) Granting Related Relief at Docket No. 100 (the “Third Emergency Motion”).

            11   On June 6, 2018, the Court entered the Interim Order on the Third Emergency Motion at Docket

            12   No. 185 and set a final hearing on June 20, 2018 (“Interim Order on Third Emergency Motion”).

            13          9.      On June 15, 2018, the Trustee filed an Emergency Motion for an Interim Order (1)

            14   Authorizing Use of Cash Collateral Pursuant to 11 U.S.C. § 363; (2) Authorizing Post-Petition

            15   Financing; (3) Scheduling a Final Hearing; and (4) Granting Related Relief at Docket No. 205

            16   (the “Fourth Emergency Motion”). At a hearing on June 20, 2018, the Court denied the proposed

            17   post-petition financing without prejudice. On June 21, 2018, the Court entered the Interim Order

            18   on the Fourth Emergency Motion at Docket No. 225 and set a final hearing on July 11, 2018

            19   (“Interim Order on Fourth Emergency Motion”).

            20          10.     At this point, the Trustee believes that the best option to provide the most benefit

            21   to all creditors is for the Trustee to continue operating the Debtor’s business for at least the next

            22   few days or a week to allow the opportunity for an acceptable bid to be presented. If no such bid

            23   is timely obtained, then the Trustee will need to cease or reduce operations quickly. The two

            24   scenarios presented in Exhibit 1 (continuing operations) and Exhibit 2 (shutdown) are attached to

            25   the Exhibit Document filed herewith. Gieseke Declaration ¶ 15.

            26          11.     The next payroll is due to be funded by July 5, 2018; however, if operations are

            27   halted, a final payroll would happen shortly after shutdown. In order to avoid immediate and

            28   irreparable harm, the Trustee has requested that SummitBridge consent to the limited use of
        	
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             1   SummitBridge’s cash collateral, as defined in Section 363(a) of the Bankruptcy Code (the “Cash

             2   Collateral”) for the expenses and payments and in the order and priority set forth on Exhibit 1 in

             3   the case of continuing operation and as set forth on Exhibit 2 in the case of a shutdown, each of

             4   which the Trustee believes are necessary to avoid immediate and irreparable harm (collectively

             5   the “Approved Expenses”). Gieseke Declaration ¶ 16.

             6          12.     As part of the Cash Collateral agreement, the Trustee has requested that

             7   SummitBridge agree to an additional carve out from its collateral and the proceeds thereof in the

             8   amount of $100,000 bringing the total carve out to $425,000 to be available for payment of

             9   approved fees and costs of the Trustee and his professionals incurred in the chapter 11 case (the

            10   “Carve Out”). The Carve Out would be binding in any subsequent chapter 7 case. There have

            11   been no waivers of the right to surcharge collateral under section 506(c), nor is there any waiver

            12   in connection with the use of cash collateral. Id. ¶ 17.

            13          13.     The Trustee has provided SummitBridge’s financial advisor access to information

            14   as it is obtained by the Trustee and his financial advisors. SummitBridge is reviewing the cash

            15   collateral information, but the Trustee is informed and believes that SummitBridge likely will

            16   stipulate to the emergency use of Cash Collateral for the Approved Expenses as set forth on either

            17   Exhibit 1 or Exhibit 2 in return for a replacement lien on post-petition assets and a limited

            18   adequate protection order substantially on the same terms and conditions as the existing Interim

            19   Order on Fourth Emergency Motion. SummitBridge still needs to review Exhibits 1 and 2 and

            20   provide its consent. Id. ¶ 18. The proposed Interim Order on Fifth Emergency Motion for an

            21   Interim Order (1) Authorizing the Use of Cash Collateral Pursuant to 11 U.S.C. §363; (2)

            22   Scheduling a Final Hearing; and (3) Granting Related Relief is attached as Exhibit 3 to the

            23   Exhibit Document filed herewith (“Interim Order on Fifth Emergency Motion”).

            24                                       REQUEST FOR RELIEF

            25          14.     The Trustee requests the Court to:

            26                  a.      Authorize the emergency use of the SummitBridge cash collateral

            27   effective immediately, through July 11, 2018 or such other date as the Court orders as provided

            28   in Exhibits 1 and 2 to the Exhibit Document filed herewith as described above;
        	
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             1                  b.      Grant SummitBridge a replacement lien on any and all post-petition assets

             2   of the Debtor of the same kind and character and to the same extent, validity and priority as

             3   SummitBridge’s pre-petition liens (the “Replacement Liens”) to the extent of use of cash

             4   collateral;

             5                  c.      Grant the adequate protection as is described in more detail in the Interim

             6   Order on Fifth Emergency Motion including: (i) the granting of an allowed superpriority

             7   administrative claim pursuant to Section 507(b) of the Bankruptcy Code; and (ii) providing that

             8   SummitBridge’s liens continue in the proceeds and profits of the pre-petition collateral pursuant

             9   to section 552(b) of the Bankruptcy Code;

            10                  d.      Provide in the Interim Order on Fifth Emergency Motion that there shall

            11   be an additional $100,000 carve out effective immediately from SummitBridge’s collateral for

            12   the payment of approved fees and costs of the Trustee and his professionals incurred in the

            13   chapter 11 case, which shall be binding in any chapter 7 case;

            14                  e.      Provide in the Interim Order on Fifth Emergency Motion that

            15   SummitBridge shall not be required to take any further steps to perfect the Replacement Liens

            16   granted through the Motion;

            17                  f.      Provide in the Interim Order on Fifth Emergency Motion that nothing in

            18   the Order shall preclude or have any res judicata or collateral estoppel effect on either the

            19   Trustee or SummitBridge (the “Parties”) except to the limited amount required respecting the

            20   specific authorization to use cash collateral and the granting of the requested Replacement Liens,

            21   and the Parties preserve any and all other rights and claims, including but not limited to the

            22   rights of: (a) the Trustee to dispute the validity of SummitBridge’s lien and claim; (b) the

            23   Trustee to file any type of affirmative recovery action or claim against SummitBridge, and/or

            24   any related party (including a marshaling claim); (c) the Trustee to seek to surcharge

            25   SummitBridge’s liens; and/or (d) SummitBridge to assert claims in the Bankruptcy Case and/or

            26   against third parties who may also be liable for its asserted claims;

            27                  g.      Treat the hearing as a request to approve interim use of cash collateral, to

            28   approve interim use to the extent necessary to avoid immediate and irreparable harm to the
        	
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             1   bankruptcy estate, and to set a final hearing on the use of cash collateral on or about July 11 or

             2   such other date as the Court prefers; and

             3                  h.      Grant such further relief as is just and appropriate in the circumstances of

             4   this Motion.

             5                                             JURISDICTION

             6          15.     This Court has jurisdiction to consider the Motion pursuant to 28 U.S.C. §§ 157

             7   and 1334, 11 U.S.C. §§ 361 and 363, and Federal Rule of Bankruptcy Procedure 4001. This is a

             8   core proceeding pursuant to 28 U.S.C. § 157(b)(2). Venue is proper before this Court pursuant to

             9   28 U.S.C. §§ 1408 and 1409.

            10                                               ARGUMENT

            11          16.     Bankruptcy Code section 363(c)(2) provides that a debtor in possession may not

            12   use, sell, or lease cash collateral unless “(A) each entity that has an interest in such cash collateral

            13   consents; or (B) the court, after notice and a hearing, authorizes such use, sale, or lease in

            14   accordance with the provisions of this section.”          11 U.S.C. §363(c)(2).        Federal Rule of

            15   Bankruptcy Procedure 4001(b)(2) permits the Court to authorize the interim use of cash collateral

            16   “as is necessary to avoid immediate and irreparable harm to the estate pending a final hearing.”

            17   Fed. R. Bankr. P. 4001(b)(2).

            18          17.     Based on the evidence submitted by the Debtor in support of the Debtor’s DIP

            19   Financing Motion, SummitBridge asserts a security interest in the Debtor’s property, which may

            20   include the Debtor’s cash collateral. In this case, SummitBridge is reviewing the proposed use of

            21   cash collateral by the Trustee on the terms set forth herein, including the granting of a

            22   replacement lien.

            23          18.     The Court previously authorized debtor in possession financing from Butch and

            24   Sundance LLC, an entity related to the owners of the Debtor, in the amount of $100,000 and

            25   granted Butch and Sundance LLC an administrative claim under sections 503(b) and 507(a)(2) in

            26   that amount. See Docket No. 69.

            27          19.     By this Motion, the Trustee seeks formal authority to use SummitBridge’s cash

            28   collateral as outlined above to pay necessary expenses to avoid immediate and irreparable harm.
        	
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             1   The Trustee must expend such funds to pay employees, taxes, insurance and out of pocket

             2   administrative expenses necessary to maintain the going concern value of the Debtor’s business.

             3   See All documents filed in support of Debtor’s DIP Financing Motion, on file herein, and

             4   incorporated herein by this reference.

             5           20.     Pursuant to Bankruptcy Code section 361, adequate protection can be in the form

             6   of the Replacement Liens to the same extent, validity, and priority as SummitBridge’s Pre-

             7   Petition Liens on the Debtor’s post-petition assets and can include the other adequate protection

             8   sought by SummitBridge in the Interim Order on Fifth Emergency Motion attached as Exhibit 3

             9   to the Exhibit Document.

            10           21.     At present, the Trustee seeks to preserve the value of the business as a going

            11   concern while he evaluates any potential sale options or preserve the Debtor’s assets in the event

            12   of a shut down. Granting this Motion will enable the Trustee to preserve such value for the

            13   benefit of all creditors.

            14           22.     Pursuant to Bankruptcy Local Rule 4001-1(c)(3), the Interim Order on Fifth

            15   Emergency Motion does not contain any provision listed in Local Rule 4001-1(c)(3)(A)-(L).

            16           WHEREFORE, the Trustee requests the Court to enter the Interim Order on Fifth

            17   Emergency Motion granting the relief requested herein.

            18   Dated: June 27, 2018
                                                             FELDERSTEIN FITZGERALD
            19                                               WILLOUGHBY & PASCUZZI LLP
            20                                            By:/s/ Paul J. Pascuzzi_______________
                                                             Paul J. Pascuzzi
            21                                               Attorneys for the
                                                             Chapter 11 Trustee,
            22                                               W. Donald Gieseke
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